       Case 17-10442-pmm                        Doc 34         Filed 02/23/22 Entered 02/23/22 11:48:25                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              GARY DEWAYNE MC NEAL


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          17-10442-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 M&T BANK                                                                   2

 Last 4 digits of any number you use to identify the debtor's account                         8   5   6   3

 Property Address:                              4309 EMBUR TERRACE
                                                EASTON, PA 18045




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        121.77

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        121.77

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $           -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $           -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $        121.77



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
   Case 17-10442-pmm                 Doc 34    Filed 02/23/22 Entered 02/23/22 11:48:25                                 Desc Main
                                               Document Page 2 of 3



Debtor 1     GARY DEWAYNE MC NEAL                                             Case number   (if known)   17-10442-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    02/23/2022


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




Form 4100N                                        Notice of Final Cure Payment                                                 page 2
   Case 17-10442-pmm                Doc 34     Filed 02/23/22 Entered 02/23/22 11:48:25                                Desc Main
                                               Document Page 3 of 3



Debtor 1     GARY DEWAYNE MC NEAL                                            Case number   (if known)   17-10442-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                         Creditor Type               Date       Check # Posting Description                     Amount
2        M&T BANK                     Pre-Petition Arrears        09/27/2017 1041217 Disbursement To Creditor/Principal       121.77
                                                                                          Total for Part 2 - B:               121.77




Form 4100N                                        Notice of Final Cure Payment                                                page 3
